      Case 2:09-cr-00026-KJM Document 67 Filed 07/09/10 Page 1 of 2


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 3 (916) 443-7141
 4 Attorney for defendant,
   RACHEL HOLMES
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 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,             )                 No. CRS 09 0026 GEB
                                         )
10               Plaintiff,              )                 STIPULATION AND
                                         )                 [PROPOSED] ORDER
11         v.                            )
                                         )
12                                       )                 Date: September 3, 2010
     RACHEL HOLMES,                      )                 Time: 9:00 a.m.
13                                       )                 Judge: Hon. Garland E.
                 Defendant.              )                 Burrell, Jr.
14   ____________________________________)
15 The parties hereby stipulate to the following:
16      1.     A status conference in this matter is set for July 9, 2010 at 9:00 a.m.
17      2.     Additional time is needed to review discovery materials, to prepare
18             possible pretrial motions, to review evidence in the custody of federal
19             agents, and to meet with the client and government’s counsel. Both
20             parties, therefore, stipulate that the status conference be continued until
21             September 3, 2010.
22      3.     It is further stipulated by the parties that time continue to be excluded to
23             September 3, 2010 for preparation of counsel pursuant to local code T4.
24             18 U.S.C. 3161(h)(7)(B)(iv).
25      DATED: July 7, 2010                         /s/ Tim Warriner, Attorney for
                                                    Defendant RACHEL HOLMES
26
27      DATED: July 7, 2010                         /s/ Daniel McConkie, Jr.
                                                    Assistant U.S. Attorney
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     Case 2:09-cr-00026-KJM Document 67 Filed 07/09/10 Page 2 of 2


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 2                                     ORDER
 3        GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 4    set for July 9, 2010 be continued to September 3, 2010 at 9:00 a.m., and that time
 5    continue to be excluded to September 3, 2010, for preparation of counsel pursuant
 6    to Local Code T4, 18 U.S.C. 3161(h)(7)(B)(iv).
 7
     Dated: July 9, 2010
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 9                                  GARLAND E. BURRELL, JR.
                                    United States District Judge
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